Case 2:O4-cV-O2513-.]P|\/|-de Document 22 Filed 05/26/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

Page|D 30

WESTERN DIVISION

 

SOUTHEAST MENTAL HEALTH CENTER,

)
INc. , )
)
Plaintiff, )

)
v. ) No.
)

PACIFIC INSURANCE COMPANY, LTD.,)
)
)

Defendant.

 

04-2513 Ml/V

 

ORDER SETTING TRIAL DATES

 

Pursuant to the discussion during

telephone conference, the Court hereby

dates in this oase:

Trial: Mondav, March 27, 2006,

Pretrial Conference: Fridav. March l?.

Pretrial Order: Fridav, March lO, 2006,

so oRDERED this 89th day of May,

the parties’ May 26, 2005,

sets the following trial

at 9:30 a.m.

2006, at 9:00 a.m.

bV 4:30 D.m.

2004.

@ in (lQQl

 

J N P.
ITED

MCCALLA
STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
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ESSEE

 

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Honorable Jon McCalla
US DISTRICT COURT

